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 1   JOHN R. MANNING
     ATTORNEY AT LAW
 2   SBN: 220874
     1111 H STREET, SUITE 204
 3   SACRAMENTO, CA 95814
     916-444-3994
 4   FAX: 916-447-0931
 5   Attorney for Defendant,
     AHMED CHARTAEV
 6
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                         EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                  Case No.: CR.S-11-514 GEB
 9
                Plaintiff,
10                                              SUBSTITUTION OF ATTORNEY
          vs.
11
     AHMED CHARTAEV,
12
                Defendant.
13
14
15        I, AHMED CHARTAEV, defendant in the above-entitled case,

16   hereby substitute (as appointed Counsel) JOHN R. MANNING, Esq.,

17   as my attorney in the above-entitled matter in the place of

18   KRESTA N. DALY, Esq.

19   Dated: 12/27/12                     /s/ Ahmed Chartaev
                                        AHMED CHARTAEV, Defendant
20
          (Original signature retained by attorney John R. Manning)
21
22        John R. Manning has been appointed to represent the above

23   named defendant by the CJA Panel.        The undersigned consents to

24   the substitution.

25
     Dated: 12/27/12                      /s/ John R. Manning
26                                       JOHN R. MANNING, ESQ.
27   Dated: 12/27/12                      /s/ Kresta N. Daly
28                                       KRESTA N. DALY, ESQ.



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 1                                      ORDER
 2
          Based upon representations of defendant’s retained counsel,
 3
     Kresta N. Daly, Esq., with good cause appearing therefore, it is
 4
     hereby ordered that JOHN R. MANNING, Esq., be substituted as the
 5
     appointed attorney for the defendant, AHMED CHARTAEV, in the
 6
     above-entitled matter in the place of KRESTA N. DALY.
 7
 8
     IT IS SO ORDERED.
 9
                                       _________________________
     1/2/13
10                                     GARLAND E. BURRELL, JR.
                                       Senior United States District Judge
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                               SUBSTITUTION OF ATTORNEY
